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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

  CHARLES MADDIX,

                Plaintiff,
  v.                                               Case No. 3:21-cv-305-TJC-JRK

  WEKIVA SPRINGS CENTER, LLC,

                Defendant.


                                       ORDER

          Upon review of the file, it is hereby

          ORDERED:

          Defendant’s Unopposed Motion to Stay Proceedings and Compel

  Arbitration (Doc. 9) is GRANTED.          The parties shall arbitrate the claims

  raised in this lawsuit in accordance with the terms of their May 4, 2016

  Alternative Resolution for Conflicts Agreement. This case is stayed pending

  completion of the arbitration and the clerk shall administratively close the

  file.

          DONE AND ORDERED in Jacksonville, Florida this 19th day of May,

  2021.
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  s.
  Copies:
  Counsel of record




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